
Markman, J.
(dissenting). Defendant was charged with murder, and the trial court suppressed evidence of his confession. The prosecutor appealed and the Court of Appeals denied leave to appeal “for failure to persuade the Court of the need for immediate appellate review.” This reason is simply inapt. See People v Yost, 468 Mich 122, 124 n 2 (2003). If defendant proceeds to trial and is found guilty, any subsequent appeal will not consider whether the evidence at preliminary examination was sufficient to warrant a bindover.
The time for review of the trial court’s suppression order is now, or never. If the defendant’s confession remains suppressed, the prosecutor will either have to dismiss the charges because the evidence independent of the confession is inadequate, or the prosecutor will be forced to proceed to trial without the prosecutor’s strongest piece of evidence. Thus, I would remand to the Court of Appeals for consideration as on leave granted.
